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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           MAY 23 2024
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
DEBORAH OSBORNE,                                     No. 23-4329
                                                     D.C. No.
             Plaintiff - Appellant,                  3:23-cv-05702-TMC
                                                     Western District of Washington,
 v.                                                  Tacoma
STANLEY J. RUMBAUGH, Honorable                       ORDER
Judge in his Individual and Official
Capacities,

             Defendant - Appellee.

Before: CANBY, TASHIMA, and KOH, Circuit Judges.

      Upon a review of the record and the responses to the court’s March 7, 2024

order, we conclude this appeal is frivolous. We therefore dismiss this appeal as

frivolous, pursuant to 28 U.S.C. § 1915(e)(2) (court shall dismiss case at any time,

if court determines it is frivolous or malicious).

      All pending motions are denied as moot.

      No further filings will be entertained in this closed case.

      DISMISSED.
